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        Exhibit 146
    (Filed Under Seal)
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                      IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF KANSAS




In re EPIPEN (EPINEPHRINE                     CASE No. 2:17-md-2785
INJECTION, USP) MARKETING, SALES              CASE No. 2:17-cv-2452
PRACTICES AND ANTITRUST
LITIGATION
_________________________________

SANOFI-AVENTIS US, LLC,

     Plaintiff,
v.

MYLAN INC.; and
MYLAN SPECIALTY, L.P.,

     Defendants.




                             REBUTTAL REPORT OF
                                GARY ZIEZIULA

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                  responses to determine what messages are being deployed in the field and what
                  impact those messages are having. With regard to Mr. Schur’s discussion of the
                  statistical significance of one of the message recall studies that I cited in my report,
                  he again ignores that it was the totality of the documentation I reviewed that led me
                  to conclude that preference claims were being made by Sanofi on a widespread
                  basis, not one particular statistic or aided message recall report. Moreover, even if
                  Mr. Schur believes that only unaided recall statistics should be considered, which I
                  do not agree with, he ignores that unaided message recall research likewise show a
                  common practice of Sanofi making comparative claims.24

                  Other Comparative Claims

          14.     Mr. Schur takes issue with my discussion of other comparative claims that Sanofi
                  made in its promotion of Auvi-Q.25 He mischaracterizes my report by insisting that
                  my discussion is limited to “three isolated incidents.” I discuss in Section C(ii) of
                  my February 4 Report three additional types of comparative claims that Sanofi
                  appears to have made on a regular basis, not three isolated incidents.

          15.     As to Mr. Schur’s specific comments concerning each of the three types of
                  comparative marketing claims: Mr. Schur first criticizes my reliance on a Mylan
                  competitive intelligence report that reported that a Sanofi sales representative told
                  a physician in Texas that Auvi-Q could withstand higher temperatures because, in
                  Mr. Schur’s opinion, “a competitive intelligence report by a rival company is not a
                  reliable source for exact information about sales representatives’ statements.”26 I
                  disagree. Pharmaceutical companies routinely rely on competitive intelligence
                  reports from their sales reps to determine what messages competitors are deploying
                  in the field and to react accordingly. The field force is a pharmaceutical company’s
                  eyes and ears on the ground with the closest relationships to the physicians, and
                  provides real-time data. Field force reports are especially helpful in identifying
                  broad marketing messaging, because having feedback from reps from various
                  regions in the country substantiating similar messages indicates that the same
                  message is being spread and heard throughout the country.

          16.     Mr. Schur next suggests that Sanofi’s marketing of Auvi-Q as the “first and only”
                  EAI device with “a retractable needle mechanism designed to prevent accidental


24
  SAN-EPI-0091515 (Physician ATU Research May 2014), Slide 79
                                                      ; SAN-EPI-0087111 (Physician ATU Research
October 2014), Slide 20 (Unaided Message Recalled:
                        ; SAN-EPI-0083095 (Auvi-Q Brand Impact Analysis March 2015), Slide 13
(Unaided topics include comparative messages); SAN-EPI-0220969 (Sanofi Auvi-Q R3M_Dec14 to
R3M_Mar15.xlsx) (unaided verbatims include comparative messages); SAN-EPI-0277608 (Auvi-Q
Message Recall Study W2’13 - Raw verbatim data for open-ended questions) (same).
25
     Schur Report Paragraphs 41-44.
26
     Schur Report Paragraph 42.


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                              APPENDIX A
                   ADDITIONAL MATERIALS CONSIDERED

Bates-Numbered Documents
IMP-0000977                MYEP01050529              SAN-EPI-0689486
IMP-0001006                MYEP01124214              SAN-EPI-0689494
IMP-0001038                MYEP01180987              SAN-EPI-0689809
KALEO-00006134             MYEP01318668              SAN-EPI-0691534
KALEO-00006135             MYEP01319420              SAN-EPI-0691536
KALEO-00007551             MYEP01319518              SAN-EPI-0691569
MYEP00095228               MYEP01322673              SAN-EPI-0697937
MYEP00096557               MYEP01322679              SAN-EPI-0698010
MYEP00118416               SAN-EPI-0005146           SAN-EPI-0698552
MYEP00119242               SAN-EPI-0068327           SAN-EPI-0699296
MYEP00119576               SAN-EPI-0008510           SAN-EPI-0765933
MYEP00140812               SAN-EPI-0012803           SAN-EPI-0921400
MYEP00140813               SAN-EPI-0097951           SAN-EPI-0954784
MYEP00140817               SAN-EPI-0144235           SAN-EPI-0962121
MYEP00457913               SAN-EPI-0144239           SAN-EPI-0962122
MYEP00612335               SAN-EPI-0198071           SAN-EPI-1031103
MYEP00612338               SAN-EPI-0214085           SAN-EPI-1204458
MYEP00646681               SAN-EPI-0233173           SAN-EPI-1207543
MYEP00647083               SAN-EPI-0297235           SAN-EPI-1207552
MYEP00677384               SAN-EPI-0311155           SAN-EPI-1207556
MYEP00717962               SAN-EPI-0380296           SAN-EPI-1224836
MYEP00740408               SAN-EPI-0380300
MYEP00872996               SAN-EPI-0380305
MYEP01033504               SAN-EPI-0380723
MYEP01046788               SAN-EPI-0380724
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MYEP01050527               SAN-EPI-0672067
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Surendra N. Singh et al., Recognition Versus Recall as Measures of Television Commercial
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